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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



  DR. SHIVA AYYADURAI,

                                  Plaintiff,

                            v.                              CIVIL ACTION
                                                            NO. 1:20-cv-11889-MLW
  WILLIAM FRANCIS GALVIN, in his official
  capacity as the Secretary of the Commonwealth
  of Massachusetts and his individual capacity,
  MICHELLE TASSINARI, in her individual
  capacity, DEBRA O’MALLEY, in her individual
  capacity, AMY COHEN, in her individual capacity,
  and NATIONAL ASSOCIATION OF STATE
  ELECTION DIRECTORS

                         Defendant.



                                 STIPULATION OF DISMISSAL

       NOTICE IS GIVEN that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

Plaintiff Dr. Shiva Ayyadurai now hereby voluntarily dismisses with prejudice all claims in this

suit. In addition, all parties voluntarily withdraw all pending motions in this matter. There is no

further action by any party on this matter, no questions in controversy remain among the parties,

and each party will bear its own costs and fees.

                                               Respectfully submitted,

                                               Plaintiff,

                                               SHIVA AYYADURAI

                                               By his attorneys,

                                               /s/ Timothy Cornell

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                            Defendants,

                            WILLIAM FRANCIS GALVIN, in his official and
                            individual capacities, MICHELLE TASSINARI, in
                            her individual capacity, and DEBRA O’MALLEY,
                            in her individual capacity,

                            By their attorneys,

                            MAURA HEALEY
                            ATTORNEY GENERAL

                            /s/ Adam Hornstine
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                            NATIONAL ASSOCIATION OF STATE
                            ELECTION DIRECTORS and AMY COHEN,

                            By their attorneys,

                            /s/ Nolan J. Mitchell
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                                              TWITTER, INC.,

                                              By its attorneys,

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Date: August 10, 2021

                                   CERTIFICATE OF SERVICE

         I, Timothy Cornell hereby certify that I have this day, August 10, 2021, served the
foregoing notice of dismissal, upon all parties, by electronically filing to all ECF registered
parties.

                                              /s/ Timothy Cornell
                                              Timothy Cornell




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